      Case 22-50029-jwc          Doc 16 Filed 01/28/22 Entered 01/28/22 08:01:42                       Desc Order
                                    Dismissal - Filing Defic Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                     Northern District of Georgia
                                          Atlanta Division


In     Debtor(s)
Re:    Doris Ross                                                     Case No.: 22−50029−jwc
                                                                      Chapter: 13



                    Order Dismissing Case For Failure Of Debtor
                           To Correct Filing Deficiency

The above referenced case was filed on January 3, 2022. An Order was entered by the Court on January 4,
2022 directing the debtor to correct one or more filing deficiencies, and the debtor has failed to comply with
the Order, and/or any subsequent order extending the time to cure filing deficiencies. Accordingly, it is
hereby

ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court by
February 11, 2022.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), any
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this
Order upon any employer of the Debtor(s) who is subject to an Employer Deduction Order.



   SO ORDERED, on January 28, 2022.




                                                                      Jeffery W. Cavender
Clerk, United States Bankruptcy Court                                 United States Bankruptcy Judge
Atlanta Division
1340 United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303


Dated: 1/28/22
Form 522
